               Case 1:08-cr-00224-LJO-DLB Document 708 Filed 07/07/11 Page 1 of 2


         1   ROGER K. VEHRS (SBN 073018)
             Attorney at Law
         2   Post Office Box 1952
             Fresno, CA 93718-1952
         3   Telephone: (559) 442-4211
             Facsimile: (559) 442-4127
         4   E-mail: office@vehrslaw.com
         5   Attorneys for Defendant Robert Holloway
         6
         7
                                          UNITED STATES DISTRICT COURT
         8
         9                              EASTERN DISTRICT OF CALIFORNIA

        10                                                     -o0o-
        11                                                      ) Case No.: 1:08-cr-00224-OWW
             In the Matter of the Search of
             Robert Cliff Holloway III and                      )
        12                                                      )
             Kathryn Gottschalk Holloway as well as             )
        13   their business and residential addresses           )
             listed below                                       ) STIPULATION AND ORDER TO
        14                                                      ) CONTINUE HEARING ON MOTION FOR
             5604 Moberg Road, Turlock, California
                                                                )
        15   5606 Moberg Road, Turlock, California              ) RETURN OF PROPERTY
             4600 Main Street, Denair, California               )
        16   2720 Second Street, Ceres, California              )
                                                                ) Hearing Date: July 11, 2011
        17                                                      ) Hearing Time: 1:30 P.M.
                                                                )
        18                                                      ) JUDGE: Honorable Oliver W. Wanger
             Real party in interest                             )
        19                                                      )
             Robert Cliff Holloway III and
             Road Dog Cycles                                    )
        20
                                                                )
        21
        22
                    IT IS HEREBY STIPULATED by and between the parties hereto through their
        23
             respective counsel, ROGER K. VEHRS, attorney for Defendant, and MARK E. CULLERS,
        24
             Chief Assistant U.S. Attorney for Plaintiff, that the hearing on Motion for Return of
        25
             Property currently scheduled for July 11, 2011, at 1:30 p.m. shall be continued to July 18,
        26
             1011, at 1:30 p.m.
        27
             ///
        28
                             Stipulation And Order To Continue Hearing on Motion For Return of Property

                                                                 1



PDF created with pdfFactory trial version www.pdffactory.com
               Case 1:08-cr-00224-LJO-DLB Document 708 Filed 07/07/11 Page 2 of 2


         1          This continuance is necessary because of a calendar conflict for defense counsel,
         2   Roger K. Vehrs, who is scheduled to appear in another court out of town.
         3
         4
         5
         6   Dated: July 6, 2011                                             /S/ Roger K. Vehrs
                                                                             ROGER K. VEHRS, attorney for
         7                                                                   Robert Cliff Holloway III.
         8
         9
        10
        11
             Dated: July 6, 2011                                             /S/ Mark E. Cullers
        12                                                                   MARK E. CULLERS
                                                                             Chief Assistant U.S. Attorney
        13
        14
        15                                                  ORDER
        16
                    IT IS HEREBY ORDERED THAT the date set for the hearing on motion for return of
        17
             property be continued to JULY 18, 2011 , at 1:30 p.m.
        18
             IT IS SO ORDERED.
        19
        20   Date: July 6, 2011                                      /s/ OLIVER W. WANGER
                                                                     United States District Judge
        21
        22
        23
        24
        25
        26
        27
        28
                             Stipulation And Order To Continue Hearing on Motion For Return of Property

                                                                 2



PDF created with pdfFactory trial version www.pdffactory.com
